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AO 442 (Rev. 11111) Arrest Warrant




                                             UNITED STATES DISTRICT COURT
                                                                      for the

                                                              District of Columbia

                        United States of America
                                    v.                                  )
                                                                                Case: 1:21-mj-00375
                                                                        )
                  Anthony Alexander Antonio                                     Assigned To: Meriweather, Robin M.
                                                                        )
                                                                        )       Assign. Date: 4/14/2021
                                                                        )       Description: COMPLAINT WI ARREST WARRANT
                                                                        )
                                 Defendant


                                                           ARREST WARRANT
To:         Any authorized law enforcement officer

            YOU ARE COMMANDED                  to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                               Anthon Alexander Antonio
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment             o    Superseding Indictment        o Information        o   Superseding Information            11: Complaint
o     Probation Violation Petition             o   Supervised Release Violation Petition       o Violation Notice           0 Order of the Court

This offense is briefly described as follows:

18 U.S.C.       § 17S2(a) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
40 U.S.C.       § S104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds;
18 U.S.C.       § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder;
18 U.S.C.       § lSl2(c)(2), 2 - Obstruction of an Official Proceeding and Aiding and Abetting;
18 U.S.C.       § 1361 - Destruction of Govemment Property.
                                                                                                             2021.04.14
                                                                                                             17:34:41 -04'00'
Date:             04114/2021
                                                                                                Issuing officer's signature


City and state:                       Washington, D.C.                      Robin M. Meriweather,         U.S. Magistrate Judge
                                                                                                   Printed name and title


                                                                     Return

            This warrant was received on       (date)   APR 1 5 2021        , and the person was arrested on     (date)       APR   Z 0 2021
at   (city and state)     U);\W\~~OI         'DE

Date:       APR 2; 0 2021

                                                                                Ao±booV       L.   Needler         Spec:o.\ ~,
                                                                                                   Printed name and Iltle
                                                                                                                                            FBI
